                  UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLORADO

CHARLES WILLIAMS,            )
                             )
    Plaintiff                )
    ,                        )
                             )    Case No
    v.                       )
                             )    JURY TRIAL DEMANDED
COLORADO DEPARTMENT          )
OF CORRECTIONS               )
                             )
    Defendant.               )



                COMPLAINT AND REQUEST FOR RELIEF




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      Plaintiff Charles Williams brings this Complaint against the Colorado

Department of Corrections under Title II of the Americans with Disabilities

Act (“ADA”), 42 U.S.C. § 12132, et seq, and the Rehabilitation Act (“RA”), 29

U.S.C. § 701 et seq. He alleges as follows:



                             INTRODUCTION



   1. Charles Williams is a prisoner who was forced to perform work his

      disability did not allow him to do and punished when he failed. This

      punishment was knowing disability discrimination by the Colorado

      Department of Corrections.



                                  PARTIES



   2. Plaintiff Charles Williams is a citizen of the United States and a

      resident of the State of Colorado. As of the filing of this Complaint,

      Mr. Williams is incarcerated at Buena Vista Correctional Complex.




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3. Defendant Colorado Department of Corrections (CDOC) is a Colorado

  State agency that enforces the laws and regulations applicable to

  Colorado State prisons.



4. Defendant CDOC is a public entity covered by the ADA and a

  recipient of federal funds within the meaning of Section 504 of the

  RA.



5. Defendant CDOC is statutorily responsible for the confinement and

  habilitation of individuals placed in state correctional facilities and

  for their programming, supervision, and conditions of confinement.



                  JURISDICTION AND VENUE



6. Jurisdiction is proper under 28 U.S.C. § 1331, which gives district

  courts original jurisdiction over all civil actions arising under the laws

  of the United States. Specifically, Plaintiff’s causes of action seek to

  redress deprivations of his rights pursuant to the ADA and the RA.




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7. Venue is proper under 28 U.S.C. § 1391(b) because a substantial part

   of the events or omissions giving rise to Plaintiff’s claims occurred in

   the District of Colorado where Defendant may be found.



8. If successful, Williams is entitled to costs and attorneys’ fees under 42

   U.S.C. §12205 and 29 U.S.C. § 794a(b).



                                FACTS



9. Charles Williams has throughout the relevant events described below

   been incarcerated at the Buena Vista Correctional Complex of the

   Colorado Department of Corrections.



10.      Mr. Williams has long suffered from chronic back pain and

   bilateral peripheral neuropathy that places substantial limitations on

   many of his major life activities, including walking, standing,

   bending, and climbing.



11. On October 4, 2018, medical staff member Heather Damon provided

   Mr. Williams with several work and housing restrictions targeted at


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  addressing his disability, these included: “No standing over 2 hours”

  because of “bilateral peripheral neuropathy”; “No Repetitive Bending

  at the Waist” because of “chronic back pain”; and a lower bunk

  restriction due to “peripheral neuropathy secondary to back pain.”



12. In the summer of 2019, Williams was nonetheless assigned to the

  kitchen, an assignment that requires standing for over two hours and

  repetitive bending, although he was physically incapable of working

  there. He was assigned there by Major Hansen, who was retaliating

  against him for filing a lawsuit against the facility.



13. He was told to report to work on July 13, 2019. He was, however,

  physically unable to perform the work at the kitchen. He therefore

  sought and received a “lay in,” which is a medical request that excuses

  a prisoner from conducting an official activity. He was “laid in” for

  forty-seven days before being relieved of kitchen duty for medical

  reasons.



14.In September 2019, he was again assigned to work in the kitchen.




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15. Williams filed multiple grievances as well as “kites” to his case

   manager explaining that he was not physically capable of working in

   the kitchen. He was told that the kitchen would accommodate his

   disabilities.



16.Mr. Williams asked to be given the form to request a disability

   accommodation and asked to speak with the staff member who

   determined whether he would be able to have his disabilities

   accommodated while working in the kitchen. Staff did not provide

   him the form and did not put him in touch with the disability

   coordinator.



17. Mr. Williams began reporting to the kitchen, and, upon reporting,

   would each day provide his list of working restrictions. Each day,

   upon seeing his list of restrictions, staff in the kitchen sent him back

   to his cell without having worked. They made comments after seeing

   his restrictions including “why did they hire you, you can’t work

   here.”




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18.     After approximately two weeks, the staff at the kitchen stopped

  even examining his work restrictions but as soon as they saw him

  entering the kitchen area, would wave him away, back to his cell.



19.On Saturday, September 21, 2019 he put in a medical emergency

  request because his back pain was unusually bad. As usual, he

  reported to the kitchen and was waved away.



20.     The following day, Sunday, September 22, 2019 he again put in

  a medical emergency request because of his back pain. He again

  reported to the kitchen and was waved away.



21. The following day, Monday September 23, 2019, he again put in a

  medical emergency. Because Mr. Williams knew that he would see the

  doctor that day who would provide him a medical lay-in and therefore

  he did not go through the formulaic act of reporting to the kitchen

  only to be waved away.



22.     He saw medical staff member Heather Damon on Monday,

  September 23 who provided him with a medical lay-in. She told him,


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  however, that as a member of the medical staff, she could not require

  them to stop assigning him to the kitchen as this was not a decision

  medical staff made. Her judgment was that he should not be working

  in the kitchen but told Williams she did not have the power to stop it.



23.     Under AR 750-01, a Colorado state regulation concerning

  offender assignment and pay, clinical services are the only ones

  allowed to say if an offender can gainfully or safely perform the duties

  of a specific assignment. This rule is not applied at Buena Vista

  Correctional Facility.



24.     During his lay-in, an officer approached him and told him that

  he understood that Mr. Williams had had a medical emergency and

  received a lay-in so he would have no complications from not

  reporting to the kitchen.



25.     Also during his lay in, a staff member in the kitchen, Captain

  Maples, informed Mr. Williams he was going to have him released

  from the kitchen for medical reasons.




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26.     Nonetheless, three days after the lay-in, an officer wrote a

  grievance against Mr. Williams for failure to work on the 23rd and

  had him fired from the kitchen.



27.     The grievance against Mr. Williams for failure to work triggered

  a reclassification so that he was no longer a “medium custody”

  prisoner and instead a “close custody” prisoner with an

  accompanying loss of privileges and autonomy.



28.     Mr. Williams filed an appeal to his grievances concerning his

  kitchen assignment.


29.     Officer Coleman informed him that the lay-in did not excuse his

  failure to work on September 23, 2019 because he failed to report to

  work in the morning but did not get a lay-in until several hours later.



30.     Mr. Williams, despite requesting one, never received a form to

  even request ADA accommodations for his work in the kitchen until

  after he had already been reclassed to close custody.




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31. Among the privileges Mr. Williams lost as a result of being

   reclassified to close custody is significantly less recreation time. As a

   result, Mr. Williams has less time to do exercises he was medically

   prescribed to do to lessen his back pain.



32.      This lessened recreation caused Mr. Williams physical injury by

   subsequent and exacerbated back pain.



                            EXHAUSTION



33.      CDOC has a three-step grievance procedure



34.      Mr. Williams filled out step 1, step 2, and step 3 grievances

   regarding CDOC’s failures to have his disabilities accommodated

   regarding his kitchen work assignment or even provided a form for

   requesting disability accommodation.



35.      All three grievances were denied.




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 36.      With the denial of the final grievance, Grievance Officer

    Anthony DeCesaro acknowledged that Williams had completed the

    grievance process and exhausted his administrative remedies.



                           CLAIMS FOR RELIEF


Count I – Americans with Disabilities Act, 42 U.S.C. §§ 12101, et
                                seq.
 Intentional Discrimination Against and Failure to Accommodate Mr.
  Williams for Not Performing Work He Was Physically Unable to Do


 37.      Plaintiff incorporates all preceding paragraphs as if fully set

    forth in this Count.



 38.      Defendant CDOC violated Title II of the ADA by failing to

    provide Mr. Williams a workplace accommodation due to this

    disability and then punishing him by restricting his activities and

    privileges for failing to perform work he was unable to do.



 39.      Title II of the ADA states: “no qualified individual shall, by

    reason of such disability, be excluded from participation in or be

    denied the benefits of the services, programs, or activities of a public

    entity, or be subjected to discrimination by any such entity.”

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40.      State prisons are within the statutory definition of a “public

   entity.” Pennsylvania Dep’t of Corr. v. Yeskey, 524 U.S. 206 (1998).



41.To state a claim under Title II, the plaintiff must allege that 1) he is

   a qualified individual with a disability; 2) who was excluded from

   participation in or denied the benefits of a public entity’s services,

   programs, or activities; and 3) such exclusion, denial of benefits,

   or discrimination was by reason of a disability. Cohon ex rel. Bass v.

   New Mexico Dep’t of Health, 646 F.3d 717, 725 (10th Cir. 2011).



42.      Mr. Williams had substantial limitations in major life activities

   including standing and bending and therefore qualified as disabled

   under the ADA.



43.      CDOC intentionally discriminated against Mr. Williams on the

   basis of disability by punishing him for being unable to complete

   work that he was unable to complete solely on account of his

   disability.




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44.     CDOC also failed to accommodate Mr. Williams’s disability by

  assigning him work he could not do with his limitations, failing to

  accommodate those limitations, and then punishing him for not

  completing the work.



45.     CDOC and its staff were deliberately indifferent to a risk of

  disability discrimination, as they were aware of his disability and

  need for accommodation and knowingly disregarded it.



      Count II – Rehabilitation Act, 29 U.S.C. § 701 et seq.

Intentional Discrimination Against and Failure to Accommodate Mr.
 Williams for Not Performing Work He Was Physically Unable to Do


46.     Plaintiff incorporates by reference each and every allegation in

  the foregoing paragraphs as if specifically alleged herein.



47.     Section 504 of the Rehabilitation Act of 1973 provides, in

  pertinent part: “No otherwise qualified individual with a disability in

  the United States . . . shall, solely by reason of his or her disability, be

  excluded from the participation in, be denied the benefits of, or be




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  subjected to discrimination under any program or activity receiving

  Federal financial assistance.” 29 U.S.C. § 794(a).



48.     CDOC receives federal funding.



49.     The elements for proving a violation of the ADA and the RA are

  the same, except that an element of the RA is that the entity receives

  federal funding. Havens v. Colorado Dep't of Corr., 897 F.3d 1250,

  1263 (10th Cir. 2018).


50.     Mr. Williams had substantial limitations in major life activities

  including standing and bending and therefore qualified as disabled

  under the RA.



51. CDOC intentionally discriminated against Mr. Williams on the basis

  of disability by punishing him for being unable to complete work that

  he was unable to complete solely on account of his disability.



52.     CDOC also failed to accommodate Mr. Williams’s disability by

  assigning him work he could not do with his limitations, failing to



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  accommodate those limitations, and then punishing him for not

  completing the work.



53.     CDOC and its staff were deliberately indifferent to a risk of

  disability discrimination, as they were aware of his disability and

  need for accommodation and knowingly disregarded it.



                     PRAYER FOR RELIEF



  WHEREFORE, Plaintiff Charles Williams prays that this Court:



      1. Award monetary damages as compensation for the harm

        suffered by Mr. Willaims including but not limited to:



           a. All economic losses on all claims as allowed by law.




           b. Compensatory and consequential damages, including

              damages     for   emotional    distress,   embarrassment,

              humiliation, loss of enjoyment of life, and other pain and

              suffering on all claims allowed by law in an amount to be


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                determined at trial;



             c. Attorneys’ fees and costs associated with this action,

                including expert witness fees, on all claims allowed by

                law; and



        2. All appropriate relief at law and equity that this Court deems

           just and proper.




Dated: November 29, 2021      Respectfully submitted,



                              /s/ Samuel Weiss______________

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